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 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11

12   JASON SWOFFORD,                                      Case No.: 2:21-cv-1998

13                    Plaintiff,

14   vs.                                                  COMPLAINT FOR COPYRIGHT
                                                          INFRINGEMENT, UNJUST
15
     RICHARD HOTTEL d/b/a California Court                ENRICHMENT, AND UNFAIR
     Resurfacing; DOES 1-10,                              COMPETITION;
16

17                    Defendants                          DEMAND FOR JURY TRIAL

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19
              Plaintiff JASON SWOFFORD, by and through his attorneys, alleges as follows:

20

21                                     JURISDICTION AND VENUE
22         1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., §§ 101 et seq.
23
           2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and 1338 (a) and
24
     (b), and ancillary jurisdiction, to the extent necessary, over the remaining claims.
25
           3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and 1400(a) in that
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     this is the judicial district in which a substantial part of the acts and omissions giving rise to the
27

28
     claims occurred.
     COMPLAINT FOR COPYRIGHT INFRINGEMENT              -1-                   CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 2 of 11 Page ID #:2



 1
                                               THE PARTIES
 2
        4. Plaintiff Jason Swofford (hereinafter “Swofford”) is an individual who resides and does
 3

 4
     business in the Central District of California.

 5      5. Defendant Richard Hottel d/b/a California Court Resurfacing (hereinafter “Hottel”) is an

 6   individual who Plaintiff is informed and believes resides and does business in the Central District
 7   of California.
 8
        6. The true names and capacities of Defendants Does 1 through 10 are presently unknown to
 9
     Plaintiff, who therefore sues them by such fictitious names. Plaintiff is informed and believes
10
     that each of the fictitiously named defendants is responsible in some capacity for matters herein
11
     alleged. Plaintiff will amend this complaint to state the true names and capacities of Does 1
12

13   through 10 when they are ascertained.

14

15                                       BACKGROUND FACTS

16      7. Plaintiff runs a successful and growing court surfacing business, having founded
17   American Court Surfacing in 2009. In 2009, Plaintiff registered the domain
18
     americancourtsurfacing.com and began publishing photographs on the website exhibiting the
19
     exceptional quality of court surfacing work performed by Plaintiff or under Plaintiff’s direction.
20
        8. Between 2010 and 2014, Plaintiff uploaded a series of photographs to the American
21
     Court Surfacing website, including two photographs of Plaintiffs father performing
22

23   hydroblasting on a court surface to remove old surface paintings and markings. A true and

24   correct copy of the webpage https://americancourtsurfacing.com/our-services [Retrieved on
25   February 24, 2021], is attached as Exhbit 1. A portion of the webpage with three images
26
     showing the hydroblasting service is included below.
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28
     COMPLAINT FOR COPYRIGHT INFRINGEMENT              -2-               CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 3 of 11 Page ID #:3



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        9. On or before August 2013, Plaintiff uploaded a series of photographs to the American
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13   Court Surfacing website, including two photographs showing before and after surfacing work on

14   a tennis court. A true and correct copy of the webpage

15   https://americancourtsurfacing.com/gallery/#bfaf [Retrieved on February 24, 2021], showing the
16   two photographs of hydroblasting is attached as Exhibit 2. A portion of the webpage with
17
     images showing the before and after service on tennis courts is included below.
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     COMPLAINT FOR COPYRIGHT INFRINGEMENT           -3-                 CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 4 of 11 Page ID #:4



 1
        10. On or before 2014, Plaintiff uploaded a photograph to the American Court Surfacing
 2
     website, page https://americancourtsurfacing.com/products-and-suppliers/, with the photograph
 3

 4
     showing the result after surfacing work on a basketball court. The photograph [retrieved from

 5   https://americancourtsurfacing.com/products-and-suppliers/ on February 24, 2021] is included

 6   below.
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15      11. Plaintiff has sought and obtained a copyright for the hydroblasting photographs, which he
16   registered under Registration Serial Number VA0002238371 / 2021-02-22, with a date of
17
     creation of on or before March 23, 2009.
18
        12. Plaintiff has sought copyright registration for the before and after photographs, which he
19
     applied for under Application Number 1-10178489430 / 2021-02-22, with a date of creation on
20
     or before November 6, 2009.
21

22      13. Plaintiff has sought and obtained a copyright for the basketball surfacing photograph,

23   which he applied for under Application Number 1-10204149371 / 2021-02-24, with a date of
24   creation of March 7, 2005.
25
        14. Plaintiff is informed, believes, and thereby alleges that portions of the photos uploaded to
26
     Plaintiff’s website were intentionally and willfully copied and displayed by Defendant on
27
     Defendant’s website http://californiasurfacing.com/. A true and correct copy of the website page
28
     COMPLAINT FOR COPYRIGHT INFRINGEMENT            -4-                 CASE NO.: 2:21-CV-1998
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 1
     http://www.californiasurfacing.com/index_files/Page441.htm [retrieved on February 24, 2021]is
 2
     attached as Exhibit 3. The relevant portion of the website including the infringing uses is
 3

 4
     included below.

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15
     Screenshot of a portion of http://californiasurfacing.com/index_files/Page441.htm.
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17       15. Plaintiff is informed, believes, and thereby alleges that portions of the basketball court
18   photograph was intentionally and willfully copied and displayed by Defendant on Defendant’s
19
     website at http://www.californiasurfacing.com/index_files/Page497.htm. A true and correct copy
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     of the website page [retrieved on February 24, 2021]is attached as Exhibit 4. The relevant
21
     portion of the website including the infringing use is included below.
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     COMPLAINT FOR COPYRIGHT INFRINGEMENT                          -5-                    CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 6 of 11 Page ID #:6



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     COMPLAINT FOR COPYRIGHT INFRINGEMENT   -6-          CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 7 of 11 Page ID #:7



 1
                                       FIRST CAUSE OF ACTION
 2
                                    COPYRIGHT INFRINGEMENT
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 4
        16. Plaintiff repeats, re-alleges, and incorporates by reference as though fully set forth herein,

 5   the allegations contained in all preceding paragraphs of this Complaint.

 6      17. At all times relevant hereto, Plaintiff has been and still is the holder of the exclusive
 7   rights under the Copyright Act of 1976 (17 USC §§ 101 et seq. (“Copyright Act”)), and all
 8
     amendments thereto) to reproduce, distribute, or license the reproduction and distribution of the
 9
     American Court Surfacing website photographs described in paragraph 11 of this Complaint.
10
        18. The American Court Surfacing website photographs are original works created by
11
     Plaintiff, copyrightable under the Copyright Act. Applications for registration of Plaintiff’s
12

13   Copyrights in the American Court Surfacing website photographs have been duly filed in the

14   United States Copyright Office, all applicable formalities and notice requirements under the

15   Copyright Act have been duly complied with, and Plaintiff has thereby secured and now owns
16   the exclusive right and privilege to enforce its rights in such Copyright.
17
        19. Plaintiff is informed and believes and thereupon alleges that Defendants intentionally
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     copied, used and displayed in online media a portion of website photographs, of which Plaintiff
19
     is the owner of exclusive rights, and have done so without Plaintiff's authorization for sale,
20
     license, display, and/or use in the United States and elsewhere.
21

22      20. Defendants have infringed Plaintiff's exclusive rights in the photographs by using and

23   displaying portions of the photographs on Defendant’s own website.
24      21. Plaintiff has never authorized Defendant, by license or otherwise, to use or display the
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     photographs, or any portion or imitation thereof, in any way.
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     COMPLAINT FOR COPYRIGHT INFRINGEMENT             -7-                  CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 8 of 11 Page ID #:8



 1
         22. Each infringing use of the photographs or any potion or imitation thereof, as well as the
 2
     threat of continuing the same, constitutes a separate claim against Defendant under the Copyright
 3

 4
     Act.

 5       23. Defendant has realized unlawful and unjust profits from the unauthorized and illegal

 6   display and use of the photographs in online media insofar as such illegal and unauthorized use
 7   aided in the promotion and sale of Defendant’s services. As such, Plaintiff is entitled to
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     disgorgement of Defendant’s profits directly and indirectly attributable to Defendant’s
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     infringement of the photographs in an amount to be established at trial.
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         24. Defendants have continued to infringe said Copyrights in the photographs, and unless
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     temporarily, preliminarily, and permanently enjoined by Order of this Court, will continue to
12

13   infringe said Copyrights, all to Plaintiff's irreparable injury. As a result of Defendants’ acts of

14   infringement, Plaintiff is without an adequate remedy at law in that damages are difficult to

15   ascertain.
16       25. Defendants have committed and continue to commit all of the aforesaid acts of
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     infringement deliberately, willfully, intentionally, and without regard to Plaintiff's proprietary
18
     rights.
19

20
                                      SECOND CAUSE OF ACTION
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22                                       UNJUST ENRICHMENT

23       26. Plaintiff repeats, re-alleges, and incorporates by reference as though fully set forth herein,
24   the allegations contained in all previous paragraphs of this Complaint.
25
         27. Defendant has received revenues, profits, income and other financial benefits as a result
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     of his use of the photographs in online media, insofar as such media increased the online
27
     engagement of Defendant’ website and personal brand, and helped sell Defendant’s services.
28
     COMPLAINT FOR COPYRIGHT INFRINGEMENT              -8-                  CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 9 of 11 Page ID #:9



 1
        28. The financial benefits conferred upon Defendant was obtained at Plaintiff’s expense, in
 2
     that Plaintiff expended his time, labor, and technical savvy to create the intellectual property that
 3

 4
     formed the photographs displayed on Plaintiff’s website, and Plaintiff has personal pecuniary

 5   interests in keeping control over the display or exhibition of the photographs.

 6      29. As a result, Defendants have been unjustly enriched at the expense of Plaintiff, and it
 7   would be unjust for Defendants to retain any financial benefits received as a result of his
 8
     unauthorized use of Plaintiff’s intellectual property.
 9

10
                                       THIRD CAUSE OF ACTION
11
                                        UNFAIR COMPETITION
12

13      30. Plaintiff repeats, re-alleges, and incorporates by reference as though fully set forth herein,

14   the allegations contained in all previous paragraphs of this Complaint.

15      31. Section 17200 of the California Business and Professions Code prohibits unfair
16   competition, including “any unlawful, unfair or fraudulent business act or practice”.
17
        32. By engaging in the alleged conduct, Defendant has engaged in unlawful, unfair, or
18
     fraudulent business acts of unfair competition in violation of Sections 17200, et seq., and
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     California common law. This conduct includes Defendant’ unauthorized use of Plaintiff’s
20
     copyrighted work as website publications insofar as such publications increased the Defendants
21

22   online engagement and personal brand, and helped promote Defendant’s business.

23      33. As an actual and proximate result of Defendants’ unfair competition, Defendant has
24   unjustly enriched himself by obtaining financial benefits, and depriving Plaintiff of the
25
     compensation to which he is rightly entitled.
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     COMPLAINT FOR COPYRIGHT INFRINGEMENT             -9-                  CASE NO.: 2:21-CV-1998
     Case 2:21-cv-01998-MWF-JDE Document 1 Filed 03/04/21 Page 10 of 11 Page ID #:10



 1
                                           PRAYER FOR RELIEF
 2
      WHEREFORE, Plaintiff prays for relief as follows:
 3

 4
         1. For an Order enjoining Defendants, their officers, agents, employees, and those acting in

 5    concert or conspiracy with them, temporarily during the pendency of this action and permanently

 6    thereafter from infringing, or contributing to, or participating in the infringement by others, of
 7    the copyrights held by Plaintiff in any way;
 8
         2. That Defendants be required to account for and pay Plaintiff the actual damages suffered
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      by Plaintiff as a result of the infringement and any profits of the Defendants attributable to the
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      infringement of Plaintiff’s copyright or exclusive rights under copyright and to pay such
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      damages to Plaintiff as to this Court shall appear just and proper within the provisions of the
12

13    Copyright Act, or, in the alternative, at Plaintiff’s election, statutory damages for infringement of

14    each separate copyright as set forth in 17 U.S.C. § 504;

15       3. For an award of costs under 17 U.S.C. § 505 or as otherwise provided by law;
16       4. For an award of attorneys’ fees as provided by 17 U.S.C. § 505;
17
         5. For an award of pre-judgment and post-judgment interest as determined by law;
18
         6. For other such relief as the court deems just and proper.
19

20
      Dated: March 4, 2020                   Respectfully Submitted,
21
                                             ZHEN LAW FIRM
22

23
                                             By:      /s/ Chris J. Zhen
24                                           Chris J. Zhen (State Bar No. 275575)
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25                                           Hogan Ganschow (State Bar No. 256137)
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26
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27                                           5670 Wilshire Blvd #1800
                                             Los Angeles, CA 90036
28                                           Attorneys for Plaintiff, Jason Swofford
      COMPLAINT FOR COPYRIGHT INFRINGEMENT -10-                             CASE NO.: 2:21-CV-1998
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 1

 2
                                     DEMAND FOR JURY TRIAL
 3

 4           Plaintiff Jason Swofford hereby demands a jury trial pursuant to Federal Rule of Civil

 5    Procedure 38.
 6

 7    Dated: March 4, 2020                 Respectfully Submitted,

 8                                        ZHEN LAW FIRM
 9

10                                        By:      /s/ Chris J. Zhen
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      COMPLAINT FOR COPYRIGHT INFRINGEMENT -11-                         CASE NO.: 2:21-CV-1998
